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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

   Root, Inc., et al•9
                                                         Case No. 2:23-cv-512
                      Plaintiffs,
                                                         Judge Sarah D. Morrison
           V.
                                                         Magistrate Judge Elizabeth Preston Deavers
   Silver, et al..

                      Defendants.


     DECLARATION OF ELIZABETH S. ALEXANDER FOR ENTRY OF DEFAULT
     AGAINST COLLATERAL DAMAGE. LLC AND ECLIPSE HOME DESIGN. LLC

          I, Elizabeth S. Alexander, declare in support of the Application for Entry of Default by

  Clerk Against Defendants Collateral Damage, LLC, and Eclipse Home Design, LLC (together.

   Defendants”) filed by Plaintiffs Root, Inc., Caret Holdings, Inc., and Root Insurance Agency,

  LLC (“Plaintiffs” or “Root”) in the above-captioned matter;

          1.         I am an attorney at Vorys, Sater, Seymour and Pease LLP (“Vorys”) and represent

 Plaintiffs in the above-captioned matter.

          2.         I make this statement based on my personal knowledge, information, and belief

          3.         On February 14, 2023, Root properly served Defendants with the Verified First

 Amended Complaint for Damages and Injunctive Relief (“First Amended Complaint”). (ECF No.

 20.)

         4.          Defendants filed their Answers to the First Amended Complaint on June 16, 2023.

 (ECF Nos. 128, 129.)

         5.          On June 25 2023, counsel for Defendants filed a motion to withdraw as counsel of

 record. (ECF No. 138.)

         6.          On July 5, 2023, the Court granted the motion to withdraw as counsel and ordered
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  Defendants to obtain counsel, as required by law and the Federal Civil Rules of Procedure, within

  thirty days, and have counsel enter an appearance on their behalf (ECF No. 144.)

         7.      The Court’s July 5,2023 Order stated that “[f]ailure to comply with this Order may

  result in an entry of default...” {Id.)

         8.      To the best of my knowledge. Defendants have failed to retain counsel.

  Furthennore no counsel entered an appearance on Defendants’ behalf by this Court’s deadline of

 August 4, 2023.

         9.      On September 28, 2023, the Court granted Root’s Motion for Leave to File Second

 Amended Complaint Instanter. (ECF Nos. 172 and 173.)

         10.     The Court’s electronic filing system states that the Court provided notice to

 Collateral Damage, LLC of its September 28, 2023 Order and the Second Amended Complaint at

 the following address: 101 N. Brand Blvd. 1      Floor, Glendale, California 91203. (ECF Nos. 172

 and 173.)

         11.     In an abundance of caution, on September 28, 2023, Plaintiffs also mailed copies

 of the September 28, 2023 Order and Second Amended Complaint to Collateral Damage, LLC to

 the care of Butler County Jail (to the attention of Brinson Caleb Silver, Inmate # 303850) at the

 following address: 705 Hanover Street, Hamilton, Ohio 45011.

         12.     The Court’s electronic filing system states that the Court provided notice to Eclipse

 Home Design, LLC of its September 28, 2023 Order and the Second Amended Complaint at the

 following address: 651 N. Broad Street, Suite 201, Middletown, Delaware 19709. (ECF Nos. 172

 and 173.)

         13.     In an abundance of caution, on September 28, 2023, Plaintiffs also mailed copies

 of the Court’s September 28, 2023 Order and Second Amended Complaint to Eclipse Home
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  Design, LLC to the following address: 651 N. Broad Street, Suite 201, Middletown, Delaware

  19709.

           14.   Pursuant to Federal Rule of Civil Procedure 15, Defendants’ deadline to move or

  plead in response to the Second Amended Complaint was October 12, 2023.

           15.   Defendants have failed to move or plead in response to the Second Amended

  Complaint.

           16.   Defendants have failed to plead or otherwise defend against the Second Amended

  Complaint and are therefore in default under Federal Rule of Civil Procedure 55(a).

  I declare under penalty of perjury that the foregoing is true and correct. Executed on November

     ., 2023.




                                                      Elizabeth S. Alexander
